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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

SARAH E. DAY,                               )
                                            )
              Plaintiff,                    )
                                            )
       v.                                   )       CAUSE NO. 1:21-cv-179
                                            )
UNITED STATES OF AMERICA,                   )
                                            )
              Defendant.                    )

                              COMPLAINT FOR DAMAGES

       Plaintiff, Sarah E. Day, by her undersigned attorneys of record, alleges and states as

follows:

                                STATEMENT OF CLAIMS

       1.     Plaintiff, pursuant to the Federal Tort Claims Act, 28 U.S.C. §§ 2671-2680,

seeks compensatory damages arising from Defendant’s negligence in failing to adhere to the

prevailing professional standard of care which is generally recognized as acceptable and

appropriate by reasonably prudent similar health care providers.

                                       JURISDICTION

       2.     This Court has subject matter jurisdiction over this matter pursuant to 28

U.S.C. § 1346(b) in that this is a claim against the United States of America, for money

damages, accruing on or after January 1, 1945, for personal injury caused by the negligent

and wrongful acts and omissions of employees of the Government while acting within the

course and scope of their office or employment, under the circumstances where the

Defendant, if a private person, would be liable to the Plaintiff.

       3.     Jurisdiction founded upon the federal law is proper in that this action is
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premised upon federal causes of action under the Federal Tort Claims Act (hereinafter

“FTCA”), 28 U.S.C. § 2671, et. seq.

       4.     Pursuant to the FTCA, 28 U.S.C. § 2671, et. seq., the Plaintiff on or about

March 9, 2020, presented her claim to the appropriate federal agency for administrative

settlement under the FTCA requesting $40,000.00. Although Plaintiff’s counsel has made

multiple attempts to contact counsel for the Department of Health and Human Services in

attempt to settle this matter, numerous emails have gone unanswered. Since Plaintiff has

not received a final disposition and it has been more than six months since filing her claim,

this lawsuit is timely filed pursuant to 28 U.S.C. § 2675(a).

       5.     This action is timely pursuant to 28 U.S.C. § 2401(b) in that it was presented

to the appropriate federal agency within two years of accrual and this action was filed more

than six months after not receiving a final disposition.

                                            VENUE

       6.     The Plaintiff, Sarah E. Day, resides in Indianapolis, Indiana and venue is

proper in this judicial district pursuant to 28 U.S.C. § 1402(b).

                                           PARTIES

       7.     On January 21, 2019 and thereafter, Plaintiff was under the care and

treatment of Jana L. Seitz, M.D. a physician practicing Obstetrics and Gynecology at

HealthNet Barrington Health & Dental Center located at 3401 E. Raymond Street,

Indianapolis, Indiana.

       8.     HealthNet, Inc. is a domestic nonprofit corporation registered to do business

in the State of Indiana and operates HealthNet Barrington Health & Dental Center. As

stated on HealthNet, Inc.’s website, “This health center receives HHS funding and has


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Federal Public Health Service deemed status with respect to certain health or health-related

claims, including medical malpractice claims for itself and its covered individuals.”

       9.     On January 21, 2019, Jana L. Seitz, M.D. was a duly authorized agent and

employee of HealthNet, Inc. d/b/a HealthNet Barrington Health & Dental Center and was

acting within the scope of her employment and agency in her treatment of Plaintiff.

                                           FACTS

       10.    On January 21, 2019, Plaintiff was scheduled for a vaginal cuff pap smear and

vulvar colposcopy which was performed by Dr. Seitz at HealthNet Barrington Health &

Dental Center.

       11.    During the procedure, Dr. Seitz was not able to perform the vulvar

colposcopy “due to the application of TCA and superficial burn of tissue.”

       12.    Dr. Seitz’s procedure notes state the following:

                     Colposcopy:

                     Indication. Hx VIN3 s/p excision, most recent hx VIN1.
                     Performed by jseitz, md. Contraception s/p
                     hysterectomy. Time-Out Procedure Informed Consent
                     Obtained:, Yes, Patient Name and DOB Verified:, Yes,
                     STOP: Correct Procedure:, Yes, Correct Site:, Yes,
                     Witnessed By:, Seitz, Jana L on 01/21/2019 12:09:07
                     PM EST>. Procedure pap smear done. Colposcopy
                     colposcopy not performed due to accidental TCA
                     applied instead of acetic acid. Immediately applied
                     damp baking soda when realized mistake. Generalized
                     bright whitening of area applied.

Emphasis added.

       13.    Under “Examination” Dr. Seitz dictated the following:

                     GYN:
                     EXTERNAL GENITALIA: no obvious lesions prior to
                     application of solution, after application had bright
                     whitening on vulva from 3 oclock down around upper

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                      perineum to 9 oclock on vulva extending ~1.5cm from
                      introitus.

         14.   As a result of the TCA that was applied by Dr. Seitz to Plaintiff’s vulva, she

suffered two different burned areas and was diagnosed with partial thickness burn of the

vulva.

         15.   Dr. Setiz fell below the standard of care by utilizing TCA instead of acetic

acid and not verifying the solution prior to placing it on Plaintiff’s vulva.

                                   PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, Sarah E. Day, demands judgment against the Defendant,

United States of America, as follows:

         a.    Enter judgment on behalf of Plaintiff against Defendant for reasonable actual
               damages sufficient to compensate her;

         b.    Cost of suit;

         c.    Post-judgment interest; and,

         d.    Grant all other and additional relief to which Plaintiff may be entitled.

                                                    Respectfully submitted:

                                                    RILEYCATE, LLC

                                                    /s/ Russell B. Cate
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